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 7                                    UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA                            No. 2:17-cr-234 TLN
11                       Plaintiff,                       STIPULATION AND ORDER TO
                                                          CONTINUE SENTENCING
12           v.
                                                          April 2, 2020 at 9:00 AM before
13    BRENDA MIRANDA
                                                          Judge Nunley
14                       Defendant.
15

16      Both the Probation Officer and Counsel for the Defendant are requesting a continuance of

17   sentencing to adequately prepare for it. The Attorney for the United States has no objection.

18   It is therefore stipulated that sentencing be continued to April 2, 2020, at 9:30 a.m., before Judge

19   Nunley and the parties request the Court so order.

20   Dated February 5, 2020

21   Respectfully submitted:                       /s/ J Toney

22                                                 Attorney for Brenda Miranda

23   So stipulated:                                /s/ Justin Lee

24                                                 Assistant United States Attorney

25   IT IS SO ORDERED.

26   DATED: February 6, 2020

27                                                               Troy L. Nunley
28                                                               United States District Judge
                                                        1
